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STATE OF WYOMING                            )              IN THE DISTRICT COURT
COUNTY OF SWEETWATER                        )              THIRD JUDICIAL DISTRICT
                          Civil Action No   C-16-               ^

SETH BEECH and KIMBERLY BEECH,                  §
individually,                                   §
                                                §
Plantiffs,                                      §
                                                §
vs.                                             §
                                                §
FORD MOTOR COMPANY, aDelaware                   §                           nJBWISijrrr
Corporation, and S&J FORD OF ROCK               §
SPRINGS, LLC, aWyoming Limited                  §                      swteiwffERCOumv
Liability Company,                              §                               2 5 2D16'
                                                §
Defendants.                                     §


                                         COMPLAINT


        COME NOW, the Plaintiffs, SETH BEECH and KIMBERLY BEECH, by and through
their attorney, Jack D. Edwards, and for their Complaint against the Defendants, state and allege
as follows:

                       ALLEGATIONS COMMON TO ALL COUNTS

1.      This is an action fordamages for personal injury, and theamount in controversy exceeds

        $75,000.00,exclusive of interest,attorneys' fees, and costs.

2.      At the time of the incident that is the subject of this complaint, SETH BEECH and

        KIMBERLY BEECH were residents of Wyoming, and they are currently residents of

        North Carolina.

3.      Defendant FORD MOTOR COMPANY ("FORD") is a Delaware corporation doing

        business in the State of Wyoming with its principal place of business in Dearborn,



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     Michigan.

4,   FORD has been at all times material herein engaged in the business ofmanufacturing and
     selling motor vehicles throughout the United States, including in Wyoming. FORD was
     and is in the business of, among other things, designing, developii^, testing,
     manu&cturing, and distributing motor vehicles in the United States, including the F550
     that isthe subject ofthe complaint, and in that capacity operated, conducted, engaged in
     and carriedon businessand business ventures withinthe State of Wyoming, directly and
                                                             r




     indirectly, through dealerships, brokers ordistributors within Wyommg and intended that
     hs motor vehicles be sold within the State of Wyoming, and derived substantial revenue

     from the sale of its motor vehicles to Wyoming residents in the ordinary course of

     commerce, trade or use, and this action arises out of such business. FORD is registered

     with the State of Wyoming andis therefore subject to service or process within this stale.

     FORD hasdesignated C TCorporation System at 1908 Thomes Ave., Cheyenne, Wyoming

     32001, as its agentfor service ofprocess withinthe Stateof Wyoming. Defendant FORD*s

     motor vehicle contacts with, or activitiesin, Wyomingare systematic and continuous and,

     thus, are sufficient to confer jurisdiction over the Defendant.

5.   Defendant S & J FORD OF ROCK SPRINGS, LLC ("S & T), is a Wyoming limited

     liability company and, as such, is a resident ofthe State of Wyomingand was transacting

     business in the State of Wyoming and was engaged in the business of marketing, selling

     and servicing in Wyomingvarious Ford motor vehicles,includingthe Ford FS50that is the

     subject of this complaint. Defendant has its principal place of business in RockSprings,

     Wyoming, and can be served with process through its registered agent, Nicholas Grififin,

     1264Dewar Dr., Rock Springs, Wyoming 82901.
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6.    ThiscasemvolvestheroUoveroccupantprotectionsystem("ROPS")ofa2012F550 Super
      Duty bearing VIN 1FD025HT0CEA61135 Cihe F550T that rolled over.
7.    The ROPS consists of(1) the roof structure; (2) the seat belt restraint; (3) the side curtain
      air bag; and (4) the vehicle's glazing, including all components ofthese devices.
8.    TheROPS oftheF550 wasdesigned by FORD.

9.    The ROPS of the F550 wasmanufactured by FORD.

10.   The ROPS of the F550 was assembled by FORD,

11.   The F550 was marketed by Ford and S&J at its dealership known by and doing business
      as First Choice Ford.

12.   The F550 was sold by Ford and S & J.

13.   The purpose of performing dynamic rollover testing is to determine if a vehicle's ROPS
      will maintain survival space and contain the occupant within the vehicle's safety cell.

14.   Maintaining survival space helps prevent and/or minimize injuries.

15.   FORDshould have conducted dynamic testing of the F550 to ensure that the vehicle was

      safe in rollover crashes even though such testing is not mandated by the Federal

      Government.


16.   The Federal Motor Vehicle Safety Standards f'FMVSS") are regulations written in terms

      of minimum safety performance requirements for motor vehicles or motor vehicle

      equipment

17.   Exceeding Federal Standards is desirable when it enhances the safety of motor vehicle

      occupants.

18.   Federal Standards do not require dynamic rollover testing.
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        19.   There was no minimum Federal Standard that applied to the roof crush resistance of the
              F550.

        20.   FORD knew that federally mandated testing has a limited relationship to vehicle
              performance inreal world rollovers.

        21.   In fact, FORD conducted dynamic testing on its vehicles many years before the F550 was
              designed andbuilt.

        22.   The F550 is unreasonably dangerous in rollover crashes, in part, because it does not have
              a strong roofthat can withstand the weight ofthe vehicle asit rolls.
        23.   The F550 is imreasonably dangerous in rollover crashes, in part, because its seat beh
              restraints donotadequately couple occupants totheir seats as it rolls.

        24.   During its years ofdeveloping, designing, manufacturing, marketing, and selling vehicles,
              FORD knew of theimportance of a strong roofstructure in itsvehicles.

        25.   FORD knew that occupant injury in rollover accidents is highly correlated with survival
              space reduction.

        26.   FORD knewthat roof support structure fiulure increases the likelihood of injury.

        27.   FORD knew that injuries in rollovers can be avoided if the roof structure maintains the

              integrity oftheoccupant survival spSiCQ andtheseatbelt restraints coupleoccupants to their

              seats.


        28.   FORD feiled to design and manufacture the ROPS of the FS50 so that it would be

              reasonably safe in a foreseeable rollover crash.

        29.   FORD knew about crashworthiness.

        30.   Crashworthiness is the science ofminimizing the risk ofserious injuiy and fotality in motor

              vehicle collisions through the use of safety systems.
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31.   There are five basic crashworthiness principles: (1) m^ntain occupant survival space, (2)
      manage the collision energy, (3) restrain the occupant, (4) prevent qection, (5) prevent
      fuel-fed fires.

32.   Crashworthiness requires that an auto manufacturer design its vehicles in such a way that
      wiien a crash occurs, injuries to tiie people inside the.vehicle are mmimized to the extent
      practical.

33.   Because the ROPS ofthe F550included a roofthat was weakand dangerous, the ROPS of

      the F550 was uncrashworthy*

34.   Because the ROPS of the F550 included seat beh restraints did not couple occupants to

      their seats in a rollover,the ROPS of the F550 was uncrashworthy.

35.   Whena vehicle's ROPSis not crashworthy, it meansthat peoplesuffer mjuriesin rollover

      that could have been prevented.

36.   SETH BEECH was injured on July 4,2012, when he was the right frontpassenger in the

      F550 that rolled over on Highway 1804.

37.   SETH BEECH was wearing his seat belt.

38.   The rollover crash was of the type that is foreseeable to Defendant FORD.

39.   During the rollover, the F550's roof structure collapsed over SETH BEECH and was

      contacted by Plaintiffs head.

40.   SETH BEECH'S seat belts were ineffective in coupling him to his seat cushion and seat

      back in a manner that would have preventedor minimized contact with the collapsing roof

      structure.


41.   Plaintiff SETH BEECH sustained serious injuries, including facial fractures and a head

      injury, in the rollover.
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                                          COUNTI
                                 Nggligence Against FORD


42.   Plaintiffs reallege paragraphs 1through 41.
43.   pAfpnriflnt FORD designed, manufactured, assembled, distributed and sold vehicles,
      including theF550 with itsdefective ROPS.

44.   The injuries and damages suffered by Plaintiffswere proximately caused by the negligence
      of Defendants FORD and S & J in designing, manufectuiing, assembling, testing,
      marketing and selling a vehicle with an ROPS that does not provide adequate rollover
      occupant protection.

45.   Defendant FORD knew, or in the exercise of due care should have known, that the
      umeasonably dangerous condition ofthe F5$0's ROPS would create a foreseeable and
      unreasonable risk of harm to uses, including PlaintiffSETH BEECH.

46.   FORD was under a duty to properly and adequately design, manufacture, assemble, test,
      provide adequate warnings for, distribute and sell the F550 with an ROPS in a reasonably
      safe condition so as not to present a danger to members of the general public who
      reasonably and expectedly under ordinal^ circumstances would use the vehicle.

47.   Defendant FORD breached itsduty ofreasonable care owed to PlaintiffSETH BEECH by

      bdng negligent in one or more of thewaysdescribed below.

48.   Defendant FORD was negligent in designing the ROPS of the F550 with inadequate roof

      strength.

49.   Defendant FORD was negligent in designing theROPS oftheF550 with seatbeltrestraints

      that do not couple occupants to their seats in foreseeable rollover crashes.

50.   Defendant FORD was negligent in selling the F550 with a defective ROPS, and without

      proper warnings.
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51.   Defendant FORD was negligent in choosing to design the ROPS of the F550 without a
      sufficiently strong roofeven though it was aware of vehicle designs and testing which

      revealed the clear benefits of roofs with sufficient strength to prevent compromise of the

      "survival space" or "safety cage" around an occupant.

52.   Defendant FORD was negligent infailing to adopt state-of-the-art technology to provide
      occupants and consumers with proper protection.

53.   Defendant FORD was negligent in choosing to disregard and ignore its obligation tohold
      the safetyof the public paramount.

54.   Defendant FORD was negligent in choosing to disregard and ignore generally accq)ted
      principles of hazard control ("design, guard andwarn").

55.   Defendant FORD had a duty to warn users about the potential for harm arising out ofthe
      use of theF550, and FORD was negligent infailing to warn about themh^rent dangers in

      the ROPS ofthe F550.

56.   Because of Defendant FORD's negligence, consumers and users were denied important

      and material informationthat should have been fully disclosed.

                                         COUNT II
                         Strict Liabilitv Against FORD and S A J

57.   Plaintiffsreallege paragraphs 1 through 56.

58.   Defendant FORD was engaged in the business of designing, manufacturing, assembling,

      marketing and selling motor vehiclesto the public, includingthe F550.

59.   Defendant S & J performed d^er preparations for vehicles, including the F550, which it
      then marketed and sold.

60.   Defendant FORD placed the F550 on the market with knowledge that it may be involved

      in crashes, including rollovers, in which it would prove not to be crashworthy.
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61.   DefendantsFORD and S & J knew, or should have known, that ultimate users or consumers

      would not be ableto detect the defects and dangerous conditions of the vehicle's ROPS.

62.   The F550 with its ROPS was defective and unreasonably dangerous to ultimate users

      because of design and manufacturing defects that caused the vehicle and its ROPS to

      perform inadequately and inanuncrashworthy manner inthe rollover event ofJuly 4,2012.

63.   FORD and S & J are, therefore, strictly liable to Plaintiffs under applicable products

      liability law without regard to or proof of negligence or gross negligence, although

      Plaintiffs would also show that the F550 was negligently designed, manufactured,

      assembled, marketed, and soW with an ROPS that was in a defective condition.

64.   The ROPS and the F550 were improperly and inadequately tested by Defendant FORD.

65.   The ROPS of the F550 is defective in that the vehicle's roof structure was weak and did

      not maintain its integrity and preserve occupant survival space in the event of a rollover

      crash.

66.   The ROPS ofthe F550 is defective in that the seat beh restraints it included failed to couple

      occupants to their seats, thereby providing appropriate occupant restraint and protection in

      the event of a rollover crash.

67.   The unreasonably dangerous nature of tiie defects in the ROPS of the F550 as outlined

      above creates a high probabilitythat when the F550 is involved in roltover crashes, severe

      and permanent personal injuries will result.

68.   DefendantsFORD and S & J knew ofthis probabilityprior to production and marketingof

      the vehicle, but Defendants willfully and wantonly manufactured and/or marketed and sold

      the vehicle with the defects.
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                                        COUNT 111
                                  Negligence Against S & J


69.   Plaintiffs reallege paragrajphs 1 through 68.

70.   Defendant S & J performed dealer preparations for vehicles, including the F550, before

      selling them, and charged for those services.

71.   As a franchise automobile dealer which negligently soldthe defective F550, S & J is liable

      forinjuries and damages caused bythe product

72.   Defendant S & J Spikes is independently liable for its employees' misrepresentations

      concerning the F550. These misrepresentations occurred within the course, purpose and

      scope of their employment and/or agency, and with the authority, consent, approval and
      ratification ofDefendant S & J.

73.   Atthetime theF550 wassold byS &J, thevehicle's ROPS contained oneor more defects,

      vs^ich defects permitted injuries toPlaintiff SETH BEECH.
74.   The F550's ROPS was defective because it was not crashworthy; its roof was weak and

      collapses inrollovers; and the seat belts do not coi^le an occupant tohis seat cushion and
      seat back in rollover events.

75.   Defendant S &J hadactual knowledge of these defects at thetime it soldthe F550.

76.   Defendant S & J negligently failed to adequately and reasonably warn users of the F550
      about the defects in its ROPS A^ich rendered it inappropriate and unsafe for its intended

      use.



77.   Defendant S &J represented thatthe F550 was safeand crashworthy when it wasnot.

78.   There was a complete failure by Pefendant S & J to provide any warnings regarding the

      F550's lack of crashworthiness in a rollover crash, which risk was known or by the

      application of reasonably developed humanskilland foresight should have been knownto
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      S&J.


79.   Plaintiffs allege that Defendant S&J committed acts of omission and commission in

      selling the F550 without warning ofpotentially dangerous aspects ofthe vehicle, including
      its lack of rollover crashworthiness.

                                          COUNT IV
                        DAMAGES SUFFERED BY PLAINTIFFS

80.   Plaintiffe reallege paragr^hs 1 through 79 above.

81.   Asa direct and proximate result of the foregomg negligence and defects. Plaintiff SETH
      BEECH sustained bodily injury and resulting pain and suffering, impairment, disability,

      disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of
      hospitalization, medical and nursing care, treatment, rehabilitation and loss of ability to
      earn money. The injuries toSETH BEECH are permanent withm a reasonable degree of

      medical probability, and SETH BEECH has suffered these injuries in the past, fit)m the
      date of the accident, and will continue to sustamsuch injuries in the future.

82.   Because of the severity of the injuries sustained by her husband, SETH BEECH, Plaintiff
      KIMBERLY BEECH has suffered a loss of consortium and all factors considered therein

      by law as result of those injuries as directly and proximately caused by the foregomg

      negligence and defects, and has personally suffered a loss of the services that would have
      been performed by SETH BEECH, for which she seeks and is entitled to recover

      compensation.
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       WHEREFORE, Plaintiffs demand judgment fordamages against allDefendants, together

with the costs of suit incurred in the trial and appellate courts, pre-judgment interest on all

economic damages, andsuchother reliefas the Court deems appropriate.

       DATED this          day of May, 2016.



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